Case 21-55737-pwb    Doc 47   Filed 11/22/22 Entered 11/22/22 10:05:20       Desc Main
                              Document     Page 1 of 6




  IT IS ORDERED as set forth below:



  Date: November 22, 2022
                                               _________________________________

                                                         Paul W. Bonapfel
                                                   U.S. Bankruptcy Court Judge
 _______________________________________________________________


                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

                                          )       CHAPTER 7
IN RE:                                    )
                                          )       CASE NO. 21-55737-PWB
JAMES EARNEST NEWMAN, SR. and             )
MARY HAASE NEWMAN,                        )
                                          )
       Debtors.                           )
                                          )
S. GREGORY HAYS, as Chapter 7 Trustee for )
the Bankruptcy Estates of James Earnest   )
Newman, Sr. and Mary Haase Newman,        )
                                          )
       Movant,                            )
v.                                        )       CONTESTED MATTER
                                          )
UNITED COMMUNITY BANK, as successor )
by merger of SOUTHERN NATIONAL BANK, )
JPMORGAN CHASE BANK, N.A.,                )
COBB COUNTY TAX COMMISSIONER,             )
MAGNOLIA LANE CONDOMINIUM ASSN., )
JAMES EARNEST NEWMAN, SR. and             )
MARY HAASE NEWMAN,                        )
                                          )
       Respondents.                       )
                                          )
Case 21-55737-pwb        Doc 47    Filed 11/22/22 Entered 11/22/22 10:05:20          Desc Main
                                   Document     Page 2 of 6



ORDER GRANTING TRUSTEE’S MOTION AUTHORITY TO (A) SELL PROPERTY OF
 THE BANKRUPTCY ESTATE FREE AND CLEAR OF ALL LIENS, INTERESTS, AND
    ENCUMBRANCES AND (B) DISBURSE CERTAIN PROCEEDS AT CLOSING

       On October 25, 2022, S. Gregory Hays, as Chapter 7 Trustee (“Trustee”) for the

bankruptcy estates (the “Bankruptcy Estate”) of James Earnest Newman, Sr. and Mary Haase

Newman (collectively, “Debtors”), filed Trustee’s Second Motion for Authority to (A) Sell

Property of the Bankruptcy Estate Free and Clear of All Liens, Interests, and Encumbrances and

(B) Disburse Certain Proceeds at Closing [Doc. No. 43] (the “Sale Motion”), pursuant to 11

U.S.C. §§ 363(b), (f), and (m), and Fed. R. Bankr. P. 2002(a)(2), 6004(a), 6004(c), and 9014. In

the Sale Motion, Trustee sought, among other things, an order from the Court authorizing the

sale (“Sale”) of that certain real property known generally as 3424 Double Eagle Drive, Marietta,

Cobb County, Georgia 30008, to Adreanna Washington (the “Purchaser”), “as is, where is,” for

the sale price of $270,000.00 (the “Purchase Price”) with a seller contribution of $1,000.00 in

accordance with the terms of a Purchase and Sale Agreement (the “Contract”), attached to the

Sale Motion as Exhibit “A.”

       Also on October 25, 2022, Trustee filed Notice of Trustee's Motion for Authority to (A)

Sell Property of the Bankruptcy Estate Free and Clear of All Liens, Interests, and Encumbrances

and (B) Disburse Certain Proceeds at Closing; Deadline to Object; and for Hearing [Doc. No.

44] (the “Notice”) regarding the Sale Motion, in accordance with the Second Amended and

Restated General Order No. 24-2018. Counsel for Trustee certifies that he served the Notice on

all requisite parties in interest on October 25, 2022 [Doc. Nos. 45 and 46].

       The Notice provided notice of the opportunity to object whereupon a hearing would be

held on December 8, 2022, at 10:00 a.m., pursuant to the procedures in the Second Amended and

Restated General Order No. 24-2018. No creditor or party in interest filed an objection to the
Case 21-55737-pwb         Doc 47     Filed 11/22/22 Entered 11/22/22 10:05:20             Desc Main
                                     Document     Page 3 of 6



Sale Motion prior to the objection deadline provided in the Notice.

        The Court having considered the Sale Motion and all other matters of record, including

the lack of objection by any creditor or party in interest to the relief requested in the Sale Motion,

and based on the foregoing, finding that no further notice or hearing is necessary, and, the Court

having found good cause exists to grant the relief requested in the Sale Motion, it is hereby

        ORDERED that the Sale Motion is GRANTED. It is further

        ORDERED that the Contract is APPROVED and its terms are incorporated into this

Order. It is further

        ORDERED that Trustee, in his business judgment, is authorized to consider and agree to

any offer from a competing bidder (the “Substitute Purchaser”) that (a) exceeds the Purchase

Price by at least $7,000.00; (b) is supported by earnest money of at least two percent (2%) of the

bid price; (c) is not accompanied by any contingencies; and (d) can close within 10 days of the

entry of this Order. It is further

        ORDERED that Trustee is authorized and directed to take any and all actions necessary

or appropriate to (a) consummate the Sale of the Property to Purchaser or a Substitute Purchaser

and perform under the terms of the Contract; (b) execute, perform, consummate, implement, and

close fully the Sale together with all additional instruments and documents that may be

reasonably necessary; and (c) execute and perform all of the obligations of Trustee under the

Contract. It is further

        ORDERED that this Order shall be binding upon all creditors (whether known or

unknown) of Debtors, Purchaser, any Substitute Purchaser, Trustee, the Bankruptcy Estate, and

their respective successors, assigns, affiliates, and subsidiaries. It is further
Case 21-55737-pwb         Doc 47      Filed 11/22/22 Entered 11/22/22 10:05:20          Desc Main
                                      Document     Page 4 of 6



          ORDERED that upon consummation of the closing of the Sale, the Property shall be

transferred and assigned to Purchaser or a Substitute Purchaser free and clear of all liens, claims,

interests, and encumbrances with all unpaid, valid, and enforceable liens, claims, interests, or

encumbrances attaching to the Sale proceeds with the same extent, validity, and priority that they

held in the Property. It is further

          ORDERED that the Sale of the Property to Purchaser or a Substitute Purchaser is “as is,”

“where is,” and without representation or warranty, express or implied, from Trustee. It is

further

          ORDERED that the transactions contemplated by the Contract and this Order are

undertaken by the Purchaser in good faith, as that term is used in Section 363(m) of the

Bankruptcy Code, and accordingly, the reversal or modification on appeal of the authorization

provided herein to consummate the Sale of the Property shall not affect the validity of the Sale to

the Purchaser, unless such authorization is duly stayed pending such appeal. The Purchaser is a

purchaser in good faith of the Property, and she is entitled to all the protections afforded by

Section 363(m) of the Bankruptcy Code. It is further

          ORDERED that, under Fed. R. Bankr. P. 6004(h), this Order shall be effective and

enforceable immediately upon entry, and its provisions shall be self-executing. In the absence of

any person or entity obtaining a stay pending appeal, Trustee and Purchaser or a Substitute

Purchaser are free to close the Sale of the Property at any time, at which time the gross sales

proceeds shall be paid to Trustee pursuant to this Order, and those disbursements requested by

the Trustee in his Sale Motion are authorized to be made, including, but not limited to, Debtors’

homestead exemption of $43,000.00 (the “Homestead Exemption”), of which $21,500.00 of the

Homestead Exemption shall be made payable to James Earnest Newman, Sr., and $21,500.00 of
Case 21-55737-pwb          Doc 47   Filed 11/22/22 Entered 11/22/22 10:05:20      Desc Main
                                    Document     Page 5 of 6



the Homestead Exemption shall be made payable to Mary Haase Newman, both care of their

attorney, Ian M. Falcone, the Falcone Law Firm, P.C. It is further

       ORDERED that this Court retains exclusive jurisdiction over any action relating to,

based upon, or arising from disputes or controversies relating to or concerning the Sale, the

Contract, or this Order.

                                    [END OF DOCUMENT]

Order prepared and presented by:

ROUNTREE LEITMAN KLEIN & GEER LLC
Attorneys for Chapter 7 Trustee

By:/s/ Michael J. Bargar
   Michael J. Bargar
   Georgia Bar No. 645709
Century Plaza I
2987 Clairmont Rd, Suite 350
Atlanta, Georgia 30329
Phone: (404) 410-1220
mbargar@rlkglaw.com


Identification of parties to be served:

Office of the United States Trustee, 362 Richard B. Russell Bldg.,75 Ted Turner Drive, SW,
Atlanta, Georgia 30303

S. Gregory Hays, Chapter 7 Trustee, Hays Financial Consulting, LLC, Suite 555, 2964 Peachtree
Road, Atlanta, GA 30305

JP Morgan Chase Bank, N.A., c/o Josephine E. Salmon, Aldridge Pite, LLP, Fifteen Piedmont
Center, 3575 Piedmont Road, NE, Suite 500, Atlanta, GA 30305

Nicki Teague, CEO, Magnolia Lane Condominium Association, 3950 Cobb Parkway, Suite 804,
Acworth, GA 30101

Magnolia Lane Condominium Association, c/o Michael Rome, Esq., Reg. Agent, 707 Whitlock
Avenue, Suite E-15, Marietta, GA 30064

Carla Jackson, Cobb County Tax Commissioner, 736 Whitlock Avenue, NW, Unit 100, Marietta,
GA 30064
Case 21-55737-pwb      Doc 47   Filed 11/22/22 Entered 11/22/22 10:05:20         Desc Main
                                Document     Page 6 of 6




H. Lynn Harton, President and CEO, United Community Bank, 125 Highway 515 E, Ops
Building, Blairsville, GA 30512

H. Lynn Harton, President and CEO, United Community Bank, 306 E. North Street, Greenville,
SC 29601

H. Lynn Harton, President and CEO, United Community Bank, 2 W. Washington Street, Suite
700, Greenville, GA 29601

Ian M. Falcone, The Falcone Law Firm, P.C. , 363 Lawrence Street, Marietta, GA 30060

James Earnest Newman, Sr., 3424 Double Eagle Drive, Marietta, GA 30008

Mary Hasse Newman, 3424 Double Eagle Drive, Marietta, GA 30008

Michael Campbell, Attention: Denise Hammock, Campbell & Brannon, LLC, 5565 Glenridge
Connector, Suite 350, Atlanta, GA 30342

Michael J. Bargar, Arnall Golden Gregory LLP, 171 17th Street, NW, Suite 2100, Atlanta, GA
30363-1031
